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                                UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON

                                         PORTLAND DIVISION




RACHEL SAWYER and DUSTIN                             Case No. 3:18-cv-02128 SB
ARNOLD,
                                                     MOTION TO DISMISS PLAINTIFFS'
                           Plaintiffs,               COMPLAINT
                     v.                              By Legacy Emanuel Hospital & Health
                                                     Center, James Coughlin MD and Sunshine
LEGACY EMANUEL HOSPITAL &                            Crone
HEALTH CENTER; OREGON
DEPARTMENT OF HUMAN SERVICES                         REQUEST FOR ORAL ARGUMENT
CHILD WELFARE, JAMES COUGHLIN
M.D., SUNSHINE CRONE, CAROLINA
CABARELLO,
                           Defendants.

                                           LR7-1 Certification

            Counsel certifies that she made a good faith effort to confer with counsel for plaintiffs by

earlier discussion, by telephone and by correspondence before filing this motion, but the parties

were unable to resolve the issues addressed in this motion.

                                            INTRODUCTION

            Plaintiffs have filed a complaint alleging their newborn baby was taken away by


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defendant Oregon Department of Human Services Child Welfare (“DHS”) for six days after a

report was made by defendant Legacy Emanuel Hospital & Health Center (“Legacy Emanuel”).

Plaintiffs have alleged multiple causes of action for an alleged violation of their civil rights,

based on both Federal and State law, but these claims fail because the moving defendants are

private individuals and entities rather than state actors. Defendants Legacy Emanuel, Dr. James

Coughlin and Sunshine Crone (collectively, the “Legacy Defendants”) seek dismissal of all

claims against them.

                                             ALLEGATIONS

            Plaintiffs allege that after giving birth to baby I.S. at Legacy Emanuel, pediatrician Dr.

Coughlin advised that if plaintiffs did not agree to a blood test of I.S., he would call social

services. (Compl., ¶ 26.) Shortly thereafter, DHS took custody of baby I.S. (Compl., ¶ 27.) A

court continued the temporary placement of I.S. in foster care after an initial hearing, and six

days later, plaintiff Rachel Sawyer regained physical but not legal custody of I.S. (Compl., ¶

34.) Full custody was eventually returned a few months later. (Compl., ¶ 35.) Based upon these

allegations, plaintiffs assert a claim for deprivation of their civil rights in violation of 42 USC §

1983 and in violation of ORS 419B.090(4). Each of plaintiffs’ three claims fails to state a claim

against the Legacy Defendants.

                                               ARGUMENT

            Each of the three claims brought by plaintiffs requires state action and is not properly

asserted against a privately owned non-profit hospital corporation and two private individuals.

Therefore, each of plaintiffs’ claims against the Legacy Defendants should be dismissed.

            I.       Legal Standard

            “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678, 129 S.Ct. 1937, 1949, 173 L.Ed. 2d 868 (2009) (quoting Bell Atlantic v. Twombly,

550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)); see also FED. R. CIV. P. 12(b)(6).

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The allegations in the operative complaint must give the defendant fair notice of the plaintiff's

claim and the grounds upon which it rests. Twombly, 550 U.S. at 555 n. 3; FED. R. CIV. P. 8(a).

“A claim has facial plausibility when the plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556

U.S. at 678. The plausibility standard requires “more than a sheer possibility that a defendant

has acted unlawfully. Where a complaint pleads facts that are ‘merely consistent with’ a

defendant’s liability, it ‘stops short of the line between possibility and plausibility of “entitlement

to relief.” ’ ” Id. (quoting Twombly, 550 U.S. 544 at 556–557 (internal citations omitted)).

            The tenet that the court must accept the facts alleged in the complaint as true and construe

them in the light most favorable to the plaintiff does not apply to legal conclusions. Iqbal, 556

U.S. at 678.

            II.      The First and Second Claims for Deprivation of Civil Rights in Violation of
                     42 USC §1983 Fail Because the Legacy Defendants Are Not State Actors or
                     Acting Under Color of Law.
            Plaintiffs’ first two causes of action are both alleged violations of 42 USC §1983

(hereinafter “§1983”). Plaintiffs fail to state a §1983 claim because they cannot demonstrate that

these defendants acted under color of law. A defendant cannot be liable under §1983 unless they

are a state actor, or a private individual acting under color of law. Sutton v. Providence St. 192

F.3d. 826 (9th Cir 1999). A person acts under color of state law only when exercising power

"possessed by virtue of state law and made possible only because the wrongdoer is clothed with

the authority of state law." United States v. Classic, 313 U.S. 299, 326, 61 S. Ct. 1031, 85 L. Ed.

1368 (1941).

            The question of whether a private party acted under color of law rests on the presumption

that the private party’s conduct was not government conduct. Sutton v. Providence St, supra,

192 F3d at 835. A private individual is not acting under color of law when the alleged

infringement is not fairly attributable to the government. Kirtley v. Rainey, 326 F.3d. 1088, 1092

(9th Cir 2003). There is nothing alleged to show any of the Legacy Defendants were clothed with

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such authority. Rather, the Complaint makes it clear that while the Legacy Defendants made a

report to DHS addressing their concerns related to baby I.S., they did not deprive the plaintiffs of

custody of I.S. Rather, DHS, acting through its employee, Carolina Cabarello, was the one who

took custody of baby I.S. Plaintiffs have failed to adequately allege the elements of a §1983

claim against these defendants.

            Plaintiffs make no allegations at all to suggest that either Ms. Crone or Dr. Coughlin were

anything other than private individuals. Rather, plaintiffs admit they were both simply

employees of Legacy Emanuel and acting within the course and scope of that employment.

(Compl., ¶¶ 4, 5.) Similarly, plaintiffs admit Legacy Emanuel is a non-profit public benefit

corporation, rather than a state actor. (Compl., ¶ 3.) Plaintiffs also allege that Legacy Emanuel

receives federal funds. (Id.) Neither allegation amounts to Legacy Emanuel either being a state

actor or acting under color of law. Further, nothing else is alleged to even suggest that any of the

Legacy Defendants were acting under color of law.
            Courts analyzing the issue of whether a private physician and hospital can be liable under

§1983 find that generally private medical providers are not acting “under color of state law” for

purposes of §1983. Briley v. State of California, 564 F.2d. 849, 855-56 (9th Cir. 1977) (private

hospital and physicians, alleged to have committed professional malpractice in a surgical

procedure, did not come within the color of law requirement), Watkins v. Mercy Medical Center,
520 F.2d. 894, 896 (9th Cir. 1975) (state involvement with a private entity must be significant for

§1983 liability; hospital’s receipt of public funds insufficient); Ascherman v. Presbyterian Hosp.

of Pacific Medical Center, Inc., 507 F.2d. 1103, 1104-05 (9th Cir. 1974) (same); Taylor v. St.

Vincent's Hospital, 523 F.2d. 75, 78 (9th Cir. 1975), cert. denied, 424 U.S. 948, 96 S. Ct. 1420,

(1976) (neither the contention that the hospital had the only maternity department in the city nor

the fact that the hospital provided an essential public service brought its activities under color of

state law); White v. St. Joseph's Hosp., 369 Fed. App'x. 225, 226 (2d Cir. 2010) (“[P]rivate actors

and institutions, such as ... hospitals ... are generally not proper §1983 defendants because they


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do not act under color of state law.”); Sockwell v. Bernstein, No. 07–CV–00866, 2007 WL

879582 at *2 (E.D.N.Y Mar. 21, 2007) (holding that a private hospital cannot be sued under

§1983 or Bivens). The §1983 claims must be dismissed pursuant to Federal Rule of Civil

Procedure 12(b)(6) for failing to state facts sufficient to constitute a claim.

            III.     The Third Claim for Deprivation of Civil Rights in Violation of ORS
                     419B.090(4) Fails Because the Legacy Defendants Are Not State Actors.
            Plaintiffs also assert a claim for violation of ORS 419B.090(4). That statute provides, in

pertinent part:

             [i]t is the policy of the State of Oregon to guard the liberty interest of parents
            protected by the Fourteenth Amendment to the United States Constitution and to
            protect the rights and interests of children, as provided in subsection (2) of this
            section. The provisions of this chapter shall be construed and applied in
            compliance with federal constitutional limitations on state action established by
            the United States Supreme Court with respect to interference with the rights of
            parents to direct the upbringing of their children.

(emphasis added). Because the statute by its own terms requires it to be interpreted consistently

with the Fourteenth Amendment on state action, ORS 419B.090(4) also requires a state actor in

order to state a claim. For the reasons discussed above with respect to plaintiffs’ Federal claims,

the Legacy Defendants are not state actors and cannot be liable for any alleged violation of ORS

419B.090(4).
                                             CONCLUSION

            Based on the arguments and authorities set forth above and incorporated herein, the

Legacy Defendants ask the Court for an order dismissing all claims against them. All of

plaintiffs’ claims fail to state a claim upon which relief may be granted.

            DATED this 19th day of December, 2018.

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                                     CERTIFICATE OF SERVICE

            I hereby certify that I served the foregoing MOTION TO DISMISS PLAINTIFFS'

COMPLAINT on the following:


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by electronically mailed notice from the court to above said attorneys on said day.

            DATED this 19th day of December, 2018.

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